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10
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     Nexon Korea Corporation
12
                                 UNITED STATES DISTRICT COURT
13
                    CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
14
15   NEXON AMERICA INC. and NEXON               )   Case No. 5:21-cv-00886-FWS-KK
     KOREA CORPORATION,                         )
16                                              )
                   Plaintiffs,                  )   MOTION FOR DEFAULT JUDGMENT
17                                              )
          v.                                    )   Hon. Fred W. Slaughter
18                                              )
     GK, NATHAN JONES, COLIN                    )
19   SULLIVAN, JOHN KIM, MIKE, JOHN             )
     ARTUZ, MARVIN LEI, KEVIN KIM,              )
20   ALAIN KOOPMANS, MATTHEW                    )
     RAHMINOV, DESTIN ADAMSKI,                  )
21   DRIVEN ENTERPRISE, VICTOR PARK,            )
     MOISES SILVERIO PAULUS, DOR                )
22   AVITAL, BIBI ALI, JANCARLOS                )
     GARCÍA SAAVEDRA, TONY NGO,                 )
23   SELIM AYDOGAN, WENHAO MA,                  )
     HAO VU; MATTHEW WOODS, and ALL             )
24   FUNDS HELD BY PAYPAL, INC. AND             )
     TRACEABLE TO THE DEFENDANTS                )
25   LISTED ABOVE, in rem;                      )
                                                )
26                 Defendants.                  )
                                                )
27                                              )
                                                )
28                                              )
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 1   TO THE COURT:
 2         PLEASE TAKE NOTICE that on June 23, 2022, at 10:00 a.m., or as soon thereafter as the
 3
     matter may be heard, Plaintiffs Nexon America Inc. and Nexon Korea Corporation (“Plaintiffs”)
 4
     will and hereby do apply for entry of default judgment against Defendants GK, Nathan Jones,
 5
     Colin Sullivan, John Kim, Mike, John Artuz, Marvin Lei, Alain Koopmans, Matthew Rahminov,
 6
 7   Destin Adamski, Driven Enterprise, Victor Park, Moises Silverio Paulus, Dor Avital, Bibi Ali,

 8   Jancarlos García Saavedra, Tony Ngo, Selim Aydogan, Wenhao Ma, and Hao Vu (collectively the

 9   “Defaulting Defendants”) pursuant to Fed. R. Civ. P. 55(b) and L.R. 55-1. Plaintiffs seek a default
10   judgment comprising (i) disgorgement of profits derived by Defendants or in the alternative,
11
     statutory damages of $60,000.00 (i.e., $30,000.00 for each of the two copyright registrations at
12
     issue) pursuant to 15 U.S.C. § 504(c)(1), whichever is greater, (ii) an award of statutory damages
13
     of $200.00 per act of circumvention pursuant to 17 U.S.C. § 1203(c)(3)(A), (iii) attorneys’ fees as
14
15   determined pursuant to L.R. 55-3, and (iv) a permanent injunction in the form submitted herewith.

16         Good cause exists for the entry of default judgment in accordance with Fed. R. Civ. 55 and
17   L.R. 55-1. The Clerk of the Court entered the default of the Defaulting Defendants. 1 Defendants
18
     are not minors or incompetent persons and are not subject to the Servicemembers Civil Relief Act,
19
     50 U.S.C. § 521. (See Exhibit A, Declaration of Jared L. Cherry (the “Cherry Dec.”), ¶¶ 10-17.)
20
           This Motion for Entry of Default Judgment is based on this notice of motion, the attached
21
22   memorandum of points and authorities, the declaration of Jared L. Cherry attached hereto as

23
24
25
     1
      ECF No. 91 (entering default against Destin Adamski, Bibi Ali, John Artuz, Dor Avital, and
26   Selim Aydogan); ECF No. 92 (entering default against Driven Enterprise, GK, Nathan Jones, John
     Kim, and Marvin Lei); ECF No. 93 (entering default against Mike, Wenhao Ma, Tony Ngo, Victor
27
     Park, and Moises Silverio Paulus); ECF No. 94 (entering default against Matthew Rahminov,
28   Jancarlos Garcia Saavedra, Colin Sullivan, and Hao Vu); ECF No. 97 (entering default against
     Alain Koopmans).

                                                                     Motion for Default Judgment
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 1   Exhibit A, all papers and pleadings on file in this action, and on such other and further evidence
 2   and argument as the Court may lawfully consider in the exercise of its discretion.
 3    Date: May 20, 2022                              PHILLIPS WINCHESTER, LLC
 4                                                    /s/ Jared L. Cherry
 5                                                    Jared L. Cherry (admitted pro hac vice)
                                                      Counsel for Plaintiffs Nexon America
 6                                                    Inc. and Nexon Korea Corporation

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                                                                      Motion for Default Judgment
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 1
                            MEMORANDUM OF POINTS AND AUTHORITIES
 2
 3       I.        INTRODUCTION

 4             This is a blatant case of infringement involving a group of computer hackers that generated

 5   millions of dollars for themselves by hacking Nexon’s MapleStory game. Nexon is the creator and
 6   owner of more than 80 live games operated across more than 190 countries. MapleStory is one of
 7
     Nexon’s most popular games, with over 180 million players worldwide. MapleStory’s popularity
 8
     and devoted fan base have made it a target for hackers, including the Defendants.
 9
               Defendants GK, Nathan Jones, Colin Sullivan, and John Kim (the “Hack Developers”) are
10
11   individuals or entities responsible for developing a program named Terminal Manager (the

12   “Hack”) that exploits the copyrighted software code comprising MapleStory. The Hack

13   Developers offered the Hack for sale on a subscription basis via GAMEKILLER.NET (the
14   “GameKiller Website”), a self-described “game hacking & cheating community.” 2 The Hack
15
     Developers completed at least 35,196 sales of the Hack, and generated revenue of more than
16
     $1,131,997.613 from transactions conducted via PayPal. The Hack Developers also accepted
17
     payment in Cryptocurrency, 4 but no records related to those transactions are available.
18
19            The remaining Defendants are individuals that purchased the Hack at least 100 separate

20   times (the “Hack Users”). The Hack Users opened MapleStory accounts, used the Hack to illicitly
21   obtain story elements, characters, audiovisual elements, and large volumes of Nexon’s in-game
22
     currency, and then sold the accounts to other MapleStory users, all in violation of the End User
23
     License Agreement (“EULA”) governing the use of MapleStory.
24
25
26
     2
27     Doc. No. 16, Nexon’s First Amended Complaint (“FAC”) at ¶¶ 15.
     3
       Cherry Dec. at ¶ 16.
28   4
       FAC at ¶ 72.
                                               1
                                                                 Memorandum of Points and Authorities in
                                                                 Support of Motion for Default Judgment
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 1             The Defaulting Defendants have opted to default because there is no defense for the
 2   conduct at issue. Instead, they are merely attempting to avoid consequences for their actions by
 3
     remaining silent and relying on the anonymity of the Internet.
 4
         II.      LEGAL STANDARD
 5
           Federal Rule of Civil Procedure 55(b) permits a district court to order a default judgment
 6
 7   following an entry of default under Rule 55(a). Fed. R. Civ. P. 55(b). Pursuant to the Local Rules,

 8   an application for a default judgment must set forth: (1) when and against what party default was

 9   entered; (2) the pleadings to which the default was entered; (3) whether the defaulting party is an
10   infant or incompetent person; (4) that the Servicemember’s Civil Relief Act does not apply; and
11
     (5) that notice has been served on the defaulting party, if required by Rule 55(b)(2). See L.R. 55-1.
12
           The grant or denial of a motion for default judgment is a matter within a court’s discretion.
13
     Landstar Ranger, v. Parth Enters., 725 F.Supp.2d 916, 919 (C.D. Cal. 2010). In exercising this
14
15   discretion, courts consider: (1) potential prejudice to the plaintiff; (2) the merits of the plaintiffs’

16   substantive claim; (3) the sufficiency of the complaint; (4) the sum of money at stake in the action;
17   (5) potential disputes concerning material facts; (6) whether defendant’s default was the product of
18
     excusable neglect; and (7) the public policy favoring decisions on the merits. Id. at 919-20 (citing
19
     Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986)).
20
           Once a default has been entered, the factual allegations of the complaint (except those
21
22   concerning damages) are deemed to have been admitted by the non-responding party. Fed. R. Civ.

23   P. 8(b)(6).5 The Court must evaluate the complaint’s unchallenged factual allegations to determine

24
25
26
     5
27    See also Federal Practice and Procedure § 2688.1 (4th ed. 2016) (“If the court determines that
     defendant is in default, the factual allegations of the complaint, except those relating to the amount
28   of damages, will be taken as true”).
                                                      2
                                                                    Memorandum of Points and Authorities in
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 1   whether they establish liability and then determine the “amount and character” of the relief.
 2   Landstar Ranger, 725 F.Supp.2d at 920.
 3
         III.     ARGUMENT
 4
                  a. Plaintiffs Satisfy the Requirements for Entry of a Default Judgment.
 5
           The jurisdictional and other prerequisites for entry of a default judgment are all satisfied.
 6
                          i. Subject Matter Jurisdiction.
 7
 8         The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a)

 9   because the action arises under the Copyright Act, 17 U.S.C. § 101 et seq., the Computer Fraud

10   and Abuse Act, 18 U.S.C. § 1030, and Circumvention of Copyright Protection Systems, 17 U.S.C.
11   § 1201, and it further has supplemental jurisdiction over the state law claims, which form part of
12
     the same case or controversy, pursuant to 28 U.S.C. § 1367(a).
13
                         ii. Personal Jurisdiction.
14
           All Defaulting Defendants are subject to the personal jurisdiction of this Court based on
15
16   their acceptance of the terms of the EULA, 6 which provides:

17         Except as otherwise provided for in Section X, you agree to submit to the personal and
           exclusive jurisdiction of the courts located within the specified forum:
18
                                          Governing
19              Game Publisher
                                          Law
                                                               Forum

20              NEXON Co., Ltd.           Japan                Tokyo District Court
21              Nexon America Inc.        California, USA
                                                               State or Federal Court within the
                                                               County of Los Angeles, California
22
                                                               Seoul Central District Court of
                Nexon Korea Corporation Korea
23                                                             Korea
24
25
26
27   6
      FAC at ¶ 60 (“Each Defendant accepted the EULA in connection with the installation and/or use
28   of MapleStory.”)
                                                3
                                                                 Memorandum of Points and Authorities in
                                                                 Support of Motion for Default Judgment
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 1   FAC at ¶ 62. Nexon America is the game publisher of MapleStory. The Ninth Circuit has
 2   recognized that accepting a forum selection clause evidences consent to personal jurisdiction in
 3
     that forum. See SEC v. Ross, 504 F.3d 1130, 1149 (9th Cir. 2007). A party disputing the validity of
 4
     a forum selection clause bears the burden of proving the clause is unenforceable. Id.
 5
             In the alternative, Defendants are subject to personal jurisdiction of this Court under
 6
 7   California’s long-arm statute, which is co-extensive with federal due process. Schwarzenegger v.

 8   Fred Martin Motor, 374 F.3d 797, 800-01 (9th Cir. 2004). The Due Process Clause requires that

 9   nonresident defendants have certain “minimum contacts” with the forum state, “such that the
10   exercise of personal jurisdiction does not offend traditional notions of fair play and substantial
11
     justice.” Int'l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).
12
             The Ninth Circuit has articulated a three-prong test to determine whether a party has
13
     sufficient minimum contacts to be susceptible to specific personal jurisdiction: (1) the non-
14
15   resident defendant must purposefully direct his activities or consummate some transaction in the

16   forum or resident thereof, or perform some act by which he purposefully avails himself of the
17   privilege of conducting activities in the forum, thereby invoking the benefits and protections of its
18
     laws; (2) the claim must be one which arises out of or relates to the defendant's forum-related
19
     activities; and (3) the exercise of jurisdiction must comport with fair play and substantial justice,
20
     i.e., it must be reasonable. Schwarzenegger, 374 F.3d at 802.
21
22           The Hack Developers operated and maintained a commercial website and generated at least

23   $688,316.22 in revenue by selling the Hack. 7 PayPal’s records provide information about the

24   country in which a purchaser is located, and PayPal’s records for the Hack Developers show
25   14,987 transactions with U.S.-based purchasers of the Hack. 8 At least some of those purchases
26
27   7
         Cherry Dec. at ¶ 23.
28   8
         Cherry Dec. at ¶ 17.
                                                      4
                                                                   Memorandum of Points and Authorities in
                                                                   Support of Motion for Default Judgment
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 1   involve California residents, including Defendant Matthew Woods , Defendant Victor Park
 2   (Exhibit J), and Defendant Driven Enterprise (Exhibit I). 9
 3
           It is well established that “[p]ersonal jurisdiction is appropriate where an entity is
 4
     conducting business over the internet and has offered for sale and sold its products to forum
 5
     residents.”10 There is proof that the Hack Developers engaged in hundreds of separate sales to
 6
 7   purchasers in California,11 and it is entirely reasonable to conclude that many of the 14,987 sales

 8   with a U.S.-based counterparty were made to California residents. 12 The Hack Developers were

 9   “conducting business over the internet” and sold products to forum residents.
10         Moreover, the Hack is targeted at Nexon, which has its principal place of business in this
11
     jurisdiction. Under similar circumstances, a court in the Northern District of California ruled: “
12
           Defendants also knowingly and intentionally accessed and used Plaintiff's website and
13         developed, marketed, and sold their software and services for the sole purpose of enabling
           users to bypass the security measures of Plaintiff's website, in violation of its TOUs.
14         Because Plaintiff is headquartered in California and maintains its website in California,
15         Defendants' actions directly targeted California, and Defendants knew that Plaintiff would
           suffer the brunt of its harm in California. Taking these facts into consideration, the
16         undersigned finds that Plaintiff has sufficiently shown that Defendants purposefully directed
           their conduct at California.
17
     Craigslist, v. Naturemarket, 694 F.Supp.2d 1039, 1053 (N.D. C.A. 2010) (emphasis added). As in
18
19   Craigslist, the conduct at issue here allowed users to “bypass the security measures” implemented

20   by Nexon and targeted Nexon America (i.e., the game publisher) in this jurisdiction.
21
22
     9
23     Cherry Dec. at ¶ 18-21.
     10
        Loomis v. Slendertone Distribution, 420 F.Supp.3d 1046, 1068-69 (S.D. Cal. 2019) (quoting j2
24   Cloud Servs. v. Fax87, No. 13-05353 DDP, 2017 WL 1535083, at *6 (C.D. Cal. Apr. 27, 2017)).
     11
        Cherry Dec. at ¶ 18-21 (208 sales to Defendant Victor Park, 105 sales to Defendant Matthew
25   Woods, and 213 sales to Defendant Driven Enterprise).
     12
        The size of the California market permits the inference that a significant portion of the Hack
26   Developers U.S. sales are to California residents. See Mavrix Photo v. Brand Techs., 647 F.3d
27   1218, 1230 (9th Cir. 2011) (“Based on the website's subject matter, as well as the size and
     commercial value of the California market, we conclude that [the defendant] anticipated, desired,
28   and achieved a substantial California viewer base.”).
                                                    5
                                                                   Memorandum of Points and Authorities in
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 1         Each of the Hack Users also engaged in more than 100 transactions, many of which
 2   explicitly refer to sale of the Hack. 13 PayPal’s records in response to the Second Subpoena
 3
     included 40,061 transactions on the PayPal platform and 512 transactions on the Venmo platform
 4
     conducted by the Hack Users. These transactions included 14,060 transactions with U.S.-based
 5
     counterparties. Cherry Dec. at ¶ 24. The Hack Users used the Hack to “bypass the security
 6
 7   measures” of MapleStory and misappropriate in-game currency.

 8         The second prong is satisfied because, just as in Craigslist, “Defendants’ willful copyright

 9   infringement, trademark infringement, and their sale of products and services that circumvent
10   Plaintiff’s security measures were intentionally directed at Plaintiff, a company headquartered in
11
     the forum state, and the harm caused by Defendants was felt in California.” This targeting of a
12
     California business, in conjunction with the Defendants’ many other contacts with the forum, is
13
     sufficient to confer jurisdiction.14
14
15         Finally, the exercise of jurisdiction is reasonable because each Defendant engaged in

16   hundreds or thousands of transactions that violated Nexon’s rights. Defendants could have
17   appeared before this Court if they disputed the allegations at issue in this lawsuit; however,
18
     Defendants instead have defaulted in the hope of avoiding consequences of their actions.
19
                        iii. Service of Process.
20
21
22   13
        Cherry Dec. at ¶ 16 (showing total number of transactions); Cherry Dec. at ¶ 23 (showing Hack
23   Developer transactions that explicitly refer to the Hack); Cherry Dec. at ¶ 26 (showing Hack User
     transactions that explicitly refer to the Hack).
24   14
        See, e.g., See Levi Strauss & Co. v. J. Barbour & Sons Ltd., 2019 WL 1117533, at *4 (N.D. Cal.
     Mar. 11, 2019) (“In cases alleging the violation of intellectual property rights, specific jurisdiction
25   may also exist ‘where a plaintiff files suit in its home state against an out-of-state defendant and
     alleges that defendant intentionally infringed its intellectual property rights knowing [the plaintiff]
26   was located in the forum state’”); Rosen v. Terapeak, 2015 WL 12724071, at *6 (C.D. Cal. Apr.
27   28, 2015) (recognizing that “Ninth Circuit precedent provides for a finding of personal jurisdiction
     in the plaintiff’s forum where a defendant willfully infringes the intellectual property rights with
28   knowledge of the plaintiff’s place of residence”).
                                                       6
                                                                  Memorandum of Points and Authorities in
                                                                  Support of Motion for Default Judgment
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 1         Defendants have sought to hide their identities using fictitious names and online personas.
 2   As such, the Court ruled:
 3
           Here, Nexon rightly asserts that the actions of the Defendants have occurred entirely online,
 4         and nowhere are their identities disclosed. Indeed, many of the Defendants have used
           physical addresses that appear to be fake. Their email addresses, however, are likely to be
 5         legitimate because email provides the mechanism for Defendants to access their PayPal
           accounts. Thus, email is the fairest and surest means of communication for Nexon to reach
 6         Defendants; the Court finds that service of Defendants by email is reasonably calculated to
 7         give actual notice to Defendants.

 8   Doc. No. 26, Page ID #:217 (internal quotations and citations omitted). The court entered

 9   summonses to each Defendant, and Nexon completed service as directed by the Court. Doc. No.
10   80, Page ID #:471.
11
           Service by email was effective, as evidenced by the fact that Defendants Matthew Woods
12
     and Kevin Kim both contacted counsel for Nexon after being served, which resulted in the
13
     dismissals without prejudice of Mr. Woods and Mr. Kevin Kim from this case. In addition, Mr.
14
15   Woods provided communications with Defendant Victor Park about this lawsuit. These

16   communications relate to this lawsuit and establish that Mr. Park also has actual knowledge of this
17   lawsuit. These facts, along with the Court’s above-quoted rationale, establishes that the Defaulting
18
     Defendants have actual notice of Nexon’s complaint and have deliberately decided to default
19
     rather than seek to defend their conduct. 15
20
                b. Entry of Default Judgment on All Counts is Warranted.
21
22
     15
23     No notice of this motion is required pursuant to Fed. R. Civ. P. 55(b)(2) because the Defaulting
     Defendants have not appeared in the action. Nonetheless, Nexon will make additional efforts to
24   provide notice to each Defaulting Defendant. Specifically, Nexon will attempt to serve each
     Defaulting Defendant with an address located in the United States. As noted in the certificate of
25   service, Nexon’s counsel will also send a copy of Nexon’s motion and all related materials to each
     Defaulting Defendant by email and by mail (if a physical address was provided by PayPal), will
26   send a text message (if a cellular telephone number was provided by PayPal) with a link to the
27   complete filing, and will contact each Defendant by telephone (if a telephone number was
     provided by PayPal). Nexon will provide additional information to the Court prior to the hearing
28   about its efforts to provide notice to each Defaulting Defendant.
                                                     7
                                                                Memorandum of Points and Authorities in
                                                                Support of Motion for Default Judgment
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 1         Under the multi-factor test employed by courts in this Circuit and set forth above, Plaintiffs
 2   are entitled to a default judgment against Defendants.
 3
                        i. Plaintiffs’ First Amended Complaint States Valid Claims Upon Which
 4                         Relief Can Be Granted.

 5         Nexon’s First Amended Complaint alleges that the Defaulting Defendants engaged in the
 6   precise conduct that Defendants themselves admit on the GAMEKILLER website, namely
 7
     “hacking” and “cheating.” The Hack Developers violated Nexon’s registered copyrights and
 8
     trademarks, all of the Defaulting Defendants violated the terms of the EULA, all of the Defaulting
 9
     Defendants violated the terms of the Computer Fraud and Abuse Act, and all of the Defaulting
10
11   Defendants circumvented Nexon’s copyright protection systems.

12                             1. Defendants have Infringed Plaintiffs’ Copyrights.

13         To prevail on a claim for copyright infringement, Plaintiff must prove: (1) ownership of a
14   valid copyright; and (2) that Defendants copied protected elements of the copyrighted work. See
15
     Smith v. Jackson, 84 F.3d 1213, 1218 (9th Cir. 1996) (citation omitted). “‘The word ‘copying’ is
16
     shorthand for the infringing of any of the copyright owner’s five exclusive rights’ described in [17
17
     U.S.C.] § 106.” A&M Records, v. Napster, 239 F.3d 1004, 1013 (9th Cir. 2001).
18
19         The first element is presumptively established by U.S. Copyright Registration Nos.

20   PA0001741698 and PA0001793977 (the “Copyright Registrations”) 16 because a copyright

21   registration serves as prima facie evidence of validity and ownership. 17 U.S.C. § 410(c). The
22   “hacking” and “cheating” conducted by Defendants relies on unlawful exploitation of Nexon’s
23
     exclusive rights under the Copyright Act. Specifically, the Defendants have obtained unauthorized
24
     copies of “story elements, characters, items, audiovisual elements” 17 using the Hack. Defendants
25
26
     16
27      FAC at ¶ 84 (“NEXON KR is also the owner of United States Copyright Registration Nos.
     PA0001741698 and PA0001793977 (the “Copyright Registrations”) for MAPLESTORY.”)
28   17
        FAC at ¶ 85.
                                               8
                                                                 Memorandum of Points and Authorities in
                                                                 Support of Motion for Default Judgment
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 1   then sold these items to third parties in direct violation of the terms of Nexon’s EULA. FAC at ¶¶
 2   107-108. Such violations are copyright infringement because “when a license is limited in scope,
 3
     exploitation of the copyrighted work outside the specified limits constitutes infringement.” 3
 4
     Nimmer on Copyrights § 10.15.
 5
 6                              2. Defendants have Breached the EULA.
 7
           “To establish a prima facie case for breach of contract, a plaintiff must plead and prove four
 8
     elements: 1) a valid contract, 2) plaintiff’s performance or excuse for nonperformance, 3)
 9
     defendant’s breach and 4) damage to the plaintiff therefrom.” 18 The EULA is a valid contract19
10
11   that must be accepted by users prior to installation and use of MapleStory. FAC ¶¶ 60-61. Nexon

12   has fully performed its obligations under the EULA. Id. at ¶ 105.

13         The EULA prohibits users from (i) hacking MapleStory and selling, advertising, or posting
14   information on hacks, (ii) transferring accounts between players, (iii) selling virtual items (such as
15
     MESOS currency and/or items purchased using MESOS currency), and (iv) imposing
16
     unreasonable and disproportional loads on NEXON’s network or infrastructure. Id. at ¶ 106. Each
17
     Defendant breached at least one of these provisions, causing damage to Nexon by (i) consuming
18
19   additional resources as a result of their hacking of MapleStory, (ii) requiring Nexon’s employees

20   to expend time attempting to prevent them from accessing Nexon’s servers, and (iii) diverting

21   revenue from Nexon, in the case of the Hack Users, due to their generation and sale of MESOS
22   currency and other in-game content to other users of MapleStory. Id. at ¶ 131.
23
24
25   18
        HDR Env’t v. Deason, No. 15CV1402 JAH (NLS), 2018 WL 1627229, at *6 (S.D. Cal. Mar. 29,
     2018) (internal alteration and quotation marks omitted) (construing California law).
26   19
        Wall Data v. Los Angeles County Sheriff's Dept., 447 F.3d 769, 782 (9th Cir. 2006) (stating that
27   click-through agreements are “clearly enforceable in California”); Nguyen v. Barnes & Noble, 763
     F.3d 1171, 1176 (9th Cir. 2014) (noting courts have “consistently enforced browsewrap
28   agreements where the user had actual notice of the agreement”).
                                                    9
                                                                 Memorandum of Points and Authorities in
                                                                 Support of Motion for Default Judgment
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 1         The Hack Developers provided explicit notice on the GAMEKILLER Website that use of
 2   the Hack “may break the terms and conditions of the game publisher you agreed to when installing
 3
     the game.” This notice must be interpreted as a concession that the Hack Developers had
 4
     knowledge of Nexon’s “terms and conditions,” and that they intentionally disregarded their
 5
     obligations under Nexon’s “terms and conditions.”
 6
 7          Despite this explicit warning that use of the Hack “may break the terms and conditions of

 8   the game publisher you agreed to when installing the game,” each of the Hack Users purchased at

 9   least 100 separate copies of the Hack. Id. at ¶ 56. The Hack included “evasion settings” (Id. at ¶
10   79), which the Hack Users manipulated to avoid detection and avoid Nexon’s attempts to stop the
11
     Hack based on detailed descriptions posted to the GAMEKILLER website. These actions were
12
     undertaken so that the Defaulting Defendants could continue their violations of Nexon’s rights and
13
     reap additional ill-gotten gains. Such actions demonstrate knowing violation of the EULA.
14
15
16
17
18
           The limited information that Nexon has been able to obtain about the Defendants shows that
19
     the Defendants had actual knowledge of their violations of the EULA. For example, as discussed
20
21   above, the GAMEKILLER website prominently called itself a “game hacking & cheating

22   community.” This description would certainly give pause to anyone seeing it about the legitimacy
23   of the site and its services. Moreover, Mr. Park repeatedly admitted to Mr. Woods that his conduct
24
     was “illegal,” demonstrating a clear knowledge of that his conduct violated Nexon’s rights.
25
     Exhibit Y, at page 9 (“I don’t remember the thing…but i remember that being…it was illegal"),
26
     Page 12 (“my parents would be disapointed [sic]… that I did something illegal”).
27
28                             3. Defendants have Violated the Computer Fraud and Abuse Act.
                                                   10
                                                                Memorandum of Points and Authorities in
                                                                Support of Motion for Default Judgment
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 1
           Congress enacted the CFAA to address the specific conduct in which Defendants are
 2
     engaged, providing a private right of action for parties injured by hacking. “Relevant here, section
 3
 4   1030(a)(4) provides a cause of against against for the punishment of any individual who

 5   knowingly and with intent to defraud, accesses a protected computer without authorization, or
 6   exceeds authorized access, and by means of such conduct furthers the intended fraud and obtains
 7
     anything of value. . . .” Physician’s Surrogacy, v. German, Case No. 17-cv-718-MMA, 2018 WL
 8
     638229, at *9 (S.D. Cal. Jan. 31, 2018). Section 1030(g) provides a private right of action for
 9
     parties who have been injured by the conduct delineated by the CFAA so long as the defendant’s
10
11   conduct involves one of the factors set forth in specified subclauses of § 1030 (c)(4)(A)(i). Id.

12         Subclause (I) proscribes conduct that causes a loss of at least $5,000 to one or more persons
           during any one-year period. Thus, to bring a civil action for a violation of § 1030 (a)(4), a
13         plaintiff must show that the defendant: (1) accessed a protected computer, (2) without
           authorization or exceeding such authorization that was granted, (3) knowingly and with
14         intent to defraud, and thereby (4) furthered the intended fraud and obtained anything of
15         value, causing (5) a loss to one or more persons during any one-year period aggregating at
           least $5,000 in value.”
16
     Id. (Internal citation, quotation marks, and alterations omitted).
17
           Defendants intentionally hacked or accessed MapleStory, which is stored on a protected
18
19   computer, using the Hack,20 exceeded the authority granted to them in order to, among other

20   things, obtain data in the form of large volumes of Nexon’s in-game MESOS currency and create

21
22
     20
23     The term “computer” under the CFAA means any device for processing or storing data
     excluding an automated typewriter, portable handheld calculator, or other similar device,
24   including, for example, websites and video game systems. 18 U.S.C. § 1030(e)(1); United States v.
     Nosal, 676 F.3d 854, 861 (9th Cir. 2012) (“The Internet is a means for communicating via
25   computers: Whenever we access a web page, commence a download, post a message on
     somebody’s Facebook wall, shop on Amazon, bid on eBay, publish a blog, rate a movie on IMDb,
26   read www.NYT.com, watch YouTube and do the thousands of other things we routinely do
27   online, we are using one computer to send commands to other computers at remote locations.”).
     The term “protected computer” means any computer used in interstate or foreign commerce. 18
28   U.S.C. § 1030(e)(2).
                                                  11
                                                                  Memorandum of Points and Authorities in
                                                                  Support of Motion for Default Judgment
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 1   accounts loaded with MESOS currency and other in-game items for resale to other users. FAC at
 2   ¶¶ 134-137. Defendants did so knowingly and with intent to defraud, as evidenced by the terms of
 3
     the “Sign Up Agreement” the Hack Developers prominently displayed on the GAMEKILLER
 4
     website. Such improper access has caused Nexon to sustain losses of more than $5,000 during the
 5
     past year, arising from loss of the additional resources consumed by Defendants as a result of their
 6
 7   hacking of MapleStory, the value of the time of employees of NEXON associated with attempting

 8   to prevent Defendants from accessing Nexon’s servers, and revenue lost due to Defendants’

 9   generation and sale of content to other MapleStory users. FAC at ¶¶ 134-139.
10                              4. Defendants have Circumvented Nexon’s Copyright Protection
11                                 Systems.

12         A plaintiff alleging a violation of § 1201(a)(2) must prove: (1) ownership of a valid

13   copyright on a work, (2) effectively controlled by a technological measure, which has been
14   circumvented, (3) that third parties can now access (4) without authorization, in a manner that (5)
15
     infringes or facilitates infringing a right protected by the Copyright Act, because of a product that
16
     (6) the defendant either (i) designed or produced primarily for circumvention; (ii) made available
17
     despite only limited commercial significance other than circumvention; or (iii) marketed for use in
18
19   circumvention of the controlling technological measure. Chamberlain Grp., v. Skylink Techn., 381

20   F.3d 1178, 1203 (Fed. Cir. 2004).

21          Nexon satisfies each element of its circumvention claim based on the well-pleaded
22   allegations of the FAC. First, Nexon’s ownership of MapleStory is established by Nexon’s
23
     ownership of valid copyright registrations. FAC at ¶ 84. Second, Nexon employs technological
24
     measures to control access to MapleStory. Id. at ¶ 141. Third, the purpose of the Hack is to enable
25
     access to copyrighted content (e.g., story elements, characters, items, audiovisual elements (Id. at
26
27   ¶ 85)) without purchasing the content from Nexon. Id. at ¶ 142. Fourth, such actions are not

28
                                                    12
                                                                 Memorandum of Points and Authorities in
                                                                 Support of Motion for Default Judgment
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 1   authorized by Nexon. FAC at ¶ 135. Fifth, exploitation of the copyrighted content of MapleStory
 2   violates Nexon’s right to reproduce such content under 17 U.S.C. § 106(1) and to distribute
 3
     MapleStory under 17 U.S.C. § 106(3). Finally, Defendants advertised the Hack on a “hacking and
 4
     cheating” site and the Hack has no other commercially significant purpose. FAC at ¶ 143.
 5
                 c. Nexon will Suffer Prejudice Absent a Default Judgment.
 6
 7           Nexon has no recourse without a default judgment because Defendants have failed to

 8   appear. See Landstar Ranger, 725 F.Supp.2d at 920 (“Denying default judgment here would leave

 9   Landstar without a proper remedy.”). Further, Plaintiffs would suffer prejudice if Defendants
10   escape consequences, thus sending a message to hackers that they can willfully violate Nexon’s
11
     rights and enrich themselves by millions of dollars with impunity.
12
                 d. The Defaults are Not the Result of Excusable Neglect.
13
           The defaults are not the product of excusable neglect. This Court considered the best way to
14
15   provide actual notice to the Defendants and concluded that email was the best vehicle to provide

16   notice. Doc. No. 26, Page ID #:217. Further, Nexon will engage in additional steps to ensure that
17   the Defaulting Defendants have notice of this motion, including sending copies of this motion to
18
     the Defaulting Defendants by mail, by email, and by contacting the Defaulting Defendants using
19
     the mobile telephone numbers provided by PayPal.
20
                 e. Public Policy Does not Militate Against a Default Judgment.
21
22         Although it is preferable to decide cases on the merits, Rule 55 provides for the entry of a

23   default judgment in appropriate circumstances, and no public policy concerns are implicated by

24   the entry of default judgment against the Defaulting Defendants. First and foremost, the general
25   preference of resolving cases on their merits is of little import where, as here, the liability is
26
     apparent. Indeed, the Defaulting Defendants either operated or voluntarily chose to participate in a
27
28
                                                     13
                                                                   Memorandum of Points and Authorities in
                                                                   Support of Motion for Default Judgment
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 1   self-described “hacking and cheating community.” 21 Nexon would have been entitled to summary
 2   adjudication of liability if the Defaulting Defendants had appeared.
 3
           Further, other public policy concerns weigh heavily in favor of awarding a default judgment.
 4
     The Defaulting Defendants targeted Nexon and profited handsomely from their acts of
 5
     infringement. Further, the Defaulting Defendants have made a strategic decision to flout this
 6
 7   Court’s jurisdiction and Nexon’s intellectual property rights by tactically defaulting in this case. A

 8   dangerous precedent is set if this is an effective way of avoiding liability.

 9        IV.   Nexon is Entitled to the Monetary Relief Sought in its Verified Complaint.
10         This Court should award the monetary relief sought in Nexon’s First Amended Complaint in
11
     view of Defendants’ egregious conduct and the fact that Defendants have derived revenue of
12
     $5,823,062.30 through PayPal and Venmo. 22 Permitting Defendants to keep any of their ill-gotten
13
     gains would encourage the conduct at issue.
14
15         A motion for default judgment provides a plaintiff with an opportunity to “prove up” its

16   damages. Landstar Ranger, 725 F.Supp.2d at 923. As set forth below, the Defaulting Defendants
17   profited handsomely from their infringement, and Nexon suffered to an even greater extent.
18
                a. Nexon is Entitled to Disgorgement of Profits Under the Copyright Act against
19                 the Hack Developers and the Hack Users.
           In connection with disgorgement of profits, the Copyright Act provides:
20
21         The copyright owner is entitled to recover the actual damages suffered by him or her as a
           result of the infringement, and any profits of the infringer that are attributable to the
22         infringement and are not taken into account in computing the actual damages. In
           establishing the infringer's profits, the copyright owner is required to present proof only of
23         the infringer's gross revenue, and the infringer is required to prove his or her deductible
           expenses and the elements of profit attributable to factors other than the copyrighted work.
24
25
26   21
       FAC at ¶ 15.
     22
27     Cherry Dec. at 16. The Hack Developers advertised their acceptance of cryptocurrency, and as
     such, the revenues are almost certainly higher. FAC at ¶ 72. PayPal also limited its production of
28   responsive records to three years from the date of the First Subpoena and the Second Subpoena.
                                                   14
                                                                  Memorandum of Points and Authorities in
                                                                  Support of Motion for Default Judgment
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 1   17 U.S.C.A. § 504(b). “[P]rofits are awarded to prevent the infringer from unfairly benefit[t]ing
 2   from a wrongful act.” H.R. Rep. 94–1476, 1976 U.S.C.C.A.N. at 5777.
 3
             “[A] causal link between the infringement and the monetary remedy sought is a predicate to
 4
     recovery” because only those profits “attributable to the infringement” are recoverable under the
 5
     Copyright Act. Polar Bear Prods. v. Timex, 384 F.3d 700 (9th Cir. 2004). A plaintiff cannot
 6
 7   merely present an infringer's gross revenue, but rather must identify a particular revenue stream

 8   that bears a “legally sufficient relationship” to the infringement. Polar Bear, 384 F.3d at 711.

 9   “[O]nce liability has been shown, § 504(b) creates an initial presumption that the infringer's profits
10   attributable to the infringement are equal to its gross revenue.” Bonner v. Dawson, 404 F.3d 290,
11
     294 (4th Cir. 2005). The rationale for this burden-shifting lies in the notion that “‘[v]ery often, the
12
     act of infringement allows the infringer to pocket as net profit a much larger percentage of his
13
     gross revenue than he could have absent the infringement.’” 4 Nimmer on Copyrights § 14.03[B]
14
15   (quoting Johnson v. Jones, 149 F.3d 494, 506 (6th Cir.1998)).

16                        i. Profits of the Hack Developers.
17           The records produced by PayPal for the Hack Developers show that the Hack Developers
18   received at least $688,316.22 in revenue for sales of the “Terminal Manager” or “Terminal” and/or
19
     that explicitly refer to MapleStory.23 This amount is “attributable to the infringement,” and as
20
     such, Nexon is entitled to the presumption that “the infringer's profits attributable to the
21
     infringement are equal to its gross revenue” unless and until that presumption is rebutted by the
22
23   Hack Developers. Bonner, 404 F.3d at 294.

24                       ii. Profits of the Hack Users.

25
26
27
28   23
          Cherry Dec at ¶¶ 22-23.
                                                     15
                                                                  Memorandum of Points and Authorities in
                                                                  Support of Motion for Default Judgment
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 1         The records produced by PayPal show that the Hack Users collectively received at least
 2   $370,593.63 in revenue from sales that explicitly relate to the conduct at issue in this lawsuit. 24
 3
     Approximately 44% of the transactions (i.e., 11,851 transactions that total $1,613,414.52) contain
 4
     no information whatsoever about the nature of the transaction because the fields that contain
 5
     information about the transaction are blank. 25 There is no legitimate explanation for the fact that
 6
 7   the Defaulting Defendants received $1,613,414.52 in revenue without a single word of

 8   explanation. The lack of detail and lack of any shipping address suggests that this revenue

 9   represents ill-gotten gains and that the Defaulting Defendants specifically decided not to make a
10   record of their unlawful acts related to violation of Nexon’s rights.
11
           Although Nexon is unable to prove definitively that the blank transactions relate to the
12
     conduct at issue in this lawsuit, “the Court must draw all reasonable inferences in Plaintiff's favor
13
     on account of Defendant's failure to participate in the litigation process.” 26 It is reasonable to
14
15   conclude that the transactions with no information are related to the conduct at issue in this case

16   because (1) all of the transactions occurred during the same period of time that the Hack was
17   available, (2) the dollar amounts are similar to the transactions that explicitly relate to MapleStory,
18
     and (3) there is an incentive for the Defaulting Defendants to avoid documenting their violations
19
     of Nexon’s rights. Moreover, rewarding Defendants who chose to incorporate no information into
20
     their transactions makes no sense as a matter of policy because it would simply send a message to
21
22   other software pirates that liability can be avoided by not tracking revenue. Finally, if Defendants

23   object to the inclusion of revenue, they can appear and defend their conduct.

24               b. As an Alternative to Disgorgement, Nexon is Entitled to Statutory Damages
                    Under the Copyright Act.
25
26
     24
27      Cherry Dec. at ¶¶ 26-27.
     25
        Cherry Dec. at ¶ 29.
28   26
        Blizzard Entm't. v. Reeves, No. CV 09-7621 SVW (AJWx), 2010 WL 4054095, at *3.
                                                  16
                                                                   Memorandum of Points and Authorities in
                                                                   Support of Motion for Default Judgment
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 1         District courts have “wide discretion in determining the amount of statutory damages to be
 2   awarded, constrained only by the specified maxima and minima.” Peer Intern. v. Pausa
 3
     Records, 909 F.2d 1332, 1336 (9th Cir. 1990). “While a plaintiff in a trademark or copyright
 4
     infringement suit is entitled to damages that will serve as a deterrent, it is not entitled to a
 5
     windfall.” Adobe Sys., v. Tilley, No. 09-01085-PJH, 2010 WL 309249, at *5 (N.D. Cal. Jan. 19,
 6
 7   2010). The Copyright Act authorizes the Court to award statutory damages against each Defendant

 8   “in a sum of not less than $750 or more than $30,000 as the court considers just.” 17 U.S.C. §

 9   504(c)(1). If the infringement is “willful,” the court may increase the award to $150,000. Id. at §
10   504(c)(2). “[A]n infringement is ‘willful’ if the defendant had knowledge that its actions constitute
11
     an infringement.” N.A.S. Imp. v. Chenson Enters., 968 F.2d 250, 252 (2d Cir. 1992). Willfulness
12
     “need not be proven directly but may be inferred from the defendant’s conduct.” Id. Willfulness
13
     may also be inferred or admitted based on a defendant’s failure to defend. Derek Andrew v. Poof
14
15   Apparel, 528 F.3d 696, 702 (9th Cir. 2008) (holding “all factual allegations in the complaint are

16   deemed true, including the allegation of [a defendant’s] willful infringement”).
17         In assessing statutory damages, the Court is to advance the “dual purposes of the Copyright
18
     Act: to compensate copyright owners and to provide a deterrent for would-be infringers.” Walpole
19
     Woodworkers, v. Atlas Fencing, 218 F.Supp.2d 247, 252 (D. Conn. 2002) (internal citation
20
     omitted). Statutory damages are particularly appropriate when other measures of remedies cannot
21
22   be determined due to actions of the defendant. 27 In view of Defendants’ default, Nexon cannot

23   determine the full extent of the Defaulting Defendants’ infringement or their ill-gotten gains.

24
25
26
     27
27     4 Nimmer on Copyrights § 14.04 (2021) (“When a defendant’s own lack of cooperation in
     discovery is responsible for an inability to determine its profits, it cannot be heard to complain
28   about the imposition of high statutory damages.”).
                                                     17
                                                                   Memorandum of Points and Authorities in
                                                                   Support of Motion for Default Judgment
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 1         Although the facts support a finding of willfulness, Nexon seeks an award of $30,000.00 for
 2   each of the two copyright registrations at issue (i.e., a total of $60,000.00) against each of the
 3
     Defaulting Defendants with revenue less than $60,000.00.
 4
                c. Nexon is Entitled to Statutory Damages under Section 1201 for Circumvention
 5                 of Nexon’s Access Control Measures.
 6
           In lieu of actual damages and profits, a prevailing plaintiff under the DMCA “may elect to
 7
 8   recover an award of statutory damages for each violation of section 1201 in the sum of not less

 9   than $200 [n]or more than $2,500 per act of circumvention, device, product, component, offer, or

10   performance of service, as the court considers just.” 17 U.S.C. § 1203(c)(3)(A).
11                       i. Circumvention Award Against the Hack Developers.
12
           The records produced by PayPal show that the Hack Developers completed at least 28 26,557
13
     sales of the Terminal Manager program. 29 This is a reasonable approximation of the minimum
14
     number of DMCA violations Defendants committed, especially in light of recognized difficulty
15
16   determining the number of violations in similar cases. 30

17         Although the facts support an award at the maximum end of the statutory range, Nexon

18   requests an award equal to $200.00 (i.e., the minimum statutory minimum amount) for each sale
19
20
21
22
23
24   28
        The number of sales is an underestimate because the Hack Developers also accepted payment
     through cryptocurrency, and none of those records are available. See FAC at ¶ 72.
25   29
        Cherry Dec. at ¶ 30.
     30
        Blizzard Entm’t. at *3 (“Based on these allegations, it is reasonable to infer that Defendant has
26   provided each of its users with anti-circumvention products or services on at least one occasion.
27   Although Plaintiff is unable to prove this fact definitively, the Court must draw all reasonable
     inferences in Plaintiff's favor on account of Defendant's failure to participate in the litigation
28   process.”).
                                                     18
                                                                  Memorandum of Points and Authorities in
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 1   of the Hack. The records from PayPal show that the Hack Developers sold versions of the Hack in
 2   various configurations to customers who are not before this Court as set forth below. 31
 3
                                          Number                      Damages Per
               Type of Sale                            Multiplier                               Total
 4                                        of Sales                     Violation
      1 Month Subscriptions                  25,113             1            $200.00       $5,022,600.00
 5    3 Month Subscriptions                   1,036             1            $200.00         $207,200.00
      5 Clients                                 385             5            $200.00         $385,000.00
 6
      20 Clients                                 17            20            $200.00          $68,000.00
 7    Unlimited Clients32                          6           50            $200.00          $60,000.00
      Purchases by the Hack Users33          -3,882             1            $200.00       ($776,400.00)
 8    Total                                                                               $4,966,400.00
 9
10                      ii. Circumvention Award Against the Hack Users.

11         Each purchase of the Hack by the Hack Users must correspond to at least one act of

12   circumvention—otherwise the Hack User would not have purchased it. Nexon seeks an award of
13   $200.00 per purchase completed by each Hack User, as set forth below. See Cherry Dec. at ¶ 31.
14
15                                                            Number of Damages per
                     Defaulting Defendant                                              Total
                                                              Purchases  Violation
16    Mike (Mike.316@outlook.com)                                   871     $200.00 $174,200.00
      John Artuz (Johnartuz@hotmail.com)                            357     $200.00 $71,400.00
17    Alain Koopmans (Alain.k91@gmail.com)                          330     $200.00 $66,000.00
18    Marvin Lei (iammarvinlei@gmail.com)                           318     $200.00 $63,600.00
      Matthew Rahminov (hypermatthew@gmail.com)                     247     $200.00 $49,400.00
19    Destin Adamski (destin.adamski@gmail.com)                     223     $200.00 $44,600.00
      Driven Enterprise
20                                                                    213         $200.00       $42,600.00
      (ruronikenshin1337@yahoo.com)
21    Victor Park (dhp960126@gmail.com)                               208         $200.00       $41,600.00
      Moises Silverio Paulus
                                                                      173         $200.00       $34,600.00
22    (msilveriopaulus@gmail.com)

23
24   31
        Cherry Dec. at ¶ 30. Sales of copies of the Hack to the other Defaulting Defendants are
     subtracted from this total to avoid double counting of these sales and to only include sales to
25   customers who are not before this Court. Nexon seeks a separate award for circumvention against
     the Hack Users for their use of the Hack.
26   32
        A multiplier must be selected for the “unlimited” option or the resulting amount would be
27   infinite. Nexon selected 50 as a conservative estimate, but the actual number is likely far greater.
     33
        The total number of purchases made by the Hack Users, which is shown below, is subtracted
28   from the total sales made by the Hack Developers to avoid double counting these sales.
                                                    19
                                                                Memorandum of Points and Authorities in
                                                                Support of Motion for Default Judgment
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 1    Dor Avital (dorypp98@gmail.com)                                   167          $200.00      $33,400.00
      Bibi Ali (LeShortName@gmail.com)                                  162          $200.00      $32,400.00
 2    Jancarlos Garcia Saavedra
                                                                        137          $200.00      $27,400.00
 3    (jancarlitos1@hotmail.com)
      Tony Ngo (tonyngo1398@gmail.com)                                  134          $200.00      $26,800.00
 4    Selim Aydogan (selim_aydogan0@hotmail.com)                        124          $200.00      $24,800.00
      Wenhao Ma a/k/a 文浩 (pay@gamerlight.com)                           113          $200.00      $22,600.00
 5
      Hao Vu (MemeGoreng@outlook.com)                                   105          $200.00      $21,000.00
 6                                                                     3882                      $776,400.00

 7                d. Summary of Damages Requested.
 8         The following table summarizes the total damages requested by Nexon from each
 9
     Defaulting Defendant. The numbers shown in bold are incorporated in the Total Damages
10
     Requested column and reflect Nexon’s election of either disgorgement of profits or statutory
11
     damages for its claim of copyright infringement.
12
13
                            Copyright Infringement                                Statutory
14                         (Disgorgement of Profits)               Copyright   Circumvention
                                                                  Infringement    Damages         Total Damages
15    Defendant                   Tables 4, 7
                     Table 7 in                                     (Statutory  Table 9 and         Requested
                                   and 8 in          Total         Damages)     Table 10 in
16                  Cherry Dec.
                                  Cherry Dec.                                   Cherry Dec.
17    GK,
      Nathan
18    Jones,
      Colin
                                  $688,316.22   $688,316.22        $60,000.00    $4,967,400.00    $5,655,716.22
19    Sullivan,
      John Kim
20    Mike                                                $0.00    $60,000.00      $174,200.00        $234,200.00
21    John Artuz      $6,712.10   $131,300.18   $138,012.28        $60,000.00       $71,400.00        $209,412.28
      Alain
22    Koopmans
                                                          $0.00    $60,000.00       $66,000.00        $126,000.00

23    Marvin Lei    $106,844.03   $215,809.86   $322,653.89        $60,000.00       $63,600.00        $386,253.89

24    Matthew
                     $11,528.01    $78,943.81    $90,471.82        $60,000.00       $49,400.00        $139,871.82
      Rakhminov
25    Destin
                     $28,611.89   $278,365.70   $306,977.59        $60,000.00       $44,600.00        $351,577.59
      Adamski
26
      Driven
27                        $0.00     $7,281.34     $7,281.34        $60,000.00       $42,600.00        $102,600.00
      Enterprises
28
                                                     20
                                                                   Memorandum of Points and Authorities in
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 1                           Copyright Infringement                                Statutory
                            (Disgorgement of Profits)               Copyright   Circumvention
 2                                                                 Infringement    Damages         Total Damages
      Defendant                   Tables 4, 7                        (Statutory  Table 9 and         Requested
 3                   Table 7 in
                                   and 8 in           Total         Damages)     Table 10 in
                    Cherry Dec.
                                  Cherry Dec.                                    Cherry Dec.
 4
      Victor Park     $2,505.69     $33,463.32     $35,969.01       $60,000.00       $41,600.00        $101,600.00
 5    Moises
 6    Silverio        $1,328.48     $61,292.33     $62,620.81       $60,000.00       $34,600.00         $97,220.81
      Paulus
 7    Dor Avital      $3,393.23     $84,950.85     $88,344.08       $60,000.00       $33,400.00        $121,744.08
      Bibi Ali          $294.20      $1,982.93      $2,277.13       $60,000.00       $32,400.00         $92,400.00
 8
      Jancarlos
 9    García          $2,980.00     $41,031.46     $44,011.46       $60,000.00       $27,400.00         $87,400.00
      Saavedra
10
      Tony Ngo                       $3,467.18      $3,467.18       $60,000.00       $26,800.00         $86,800.00
11
      Selim
                                                           $0.00    $60,000.00       $24,800.00         $84,800.00
12    Aydogan
      Wenhao
13                  $200,062.09   $622,637.56    $822,699.65        $60,000.00       $22,600.00        $845,299.65
      Ma
14    Hao Vu          $6,333.91     $52,888.00     $59,221.91       $60,000.00       $21,000.00         $81,000.00

15           The damage awards requested here, while sizeable, are consistent with law and appropriate

16   given the brazenness of the Defaulting Defendants’ conduct. Due to the Defaulting Defendants’
17   failure to appear, it is impossible to establish a complete picture of their revenues or profits. The
18
     amount sought is not a “windfall” to Plaintiffs because Plaintiffs’ harm is considerably larger than
19
     the amount requested above. The Hack Users sold access to Nexon’s copyrighted content for far
20
     less than it could be purchased from Nexon—otherwise there would be no incentive for purchasers
21
22   to acquire the purloined digital content from the Hack Users rather than legitimately purchasing

23   the content from Nexon. Accordingly, even if Nexon succeeds in collecting all of the judgment
24   Nexon will still be in a worse position that it would have been if it had sold the content directly.
25
        V.        Nexon is Entitled to the Injunctive Relief Sought in its Verified Complaint.
26
             A permanent injunction is appropriately granted where the plaintiff shows (1) that it has
27
     suffered irreparable injury, (2) that there is no adequate remedy at law, (3) that the balance of the
28
                                                      21
                                                                    Memorandum of Points and Authorities in
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 1   hardships are in its favor, and (4) that an injunction is in the public’s interest. eBay v.
 2   MercExchange, 547 U.S. 388, 319 (2006).
 3
                 a. Irreparable Injury and Lack of an Adequate Remedy at Law.
 4
             Nexon faces irreparable injury based on the Defaulting Defendants’ violations of Nexon’s
 5
 6   copyrights34 and hacking.35 Plaintiffs have no adequate remedy at law for these infringements,

 7   particularly because an award of damages for past infringement does not prevent continuing

 8   violations of Plaintiffs’ rights.
 9               b. The Balance of Harms Tips Conclusively in Nexon’s Favor.
10
           Willfully infringing defendants are entitled to little equitable consideration: “[w]hen
11
     considering the balance of hardships between the parties in infringement cases, courts generally
12
13   favor the trademark owner.” Krause Int’l v. Reed Elsevier, 866 F.Supp. 585, 587-88 (D.D.C.

14   1994). Defendants have blatantly and knowingly violated Nexon’s copyrights, trademarks, and

15   other rights in a scheme to enrich themselves at Nexon’s expense. Defendants’ disregard for
16   Nexon’s rights is clear, and “when the case for infringement is clear, a defendant cannot avoid [an]
17
     injunction by claiming harm to a business built upon that infringement.” Gen. Motors v. Urban
18
19
20
21   34
        See Sony Music v. Global Arts Prod., 45 F.Supp.2d 1345, 1347 (S.D. Fla. 1999) (“Injunctive
     relief is a traditional remedy for copyright infringement, and is especially favored where there is a
22   history of continuing infringement and a substantial threat of continued infringement.”).
     35
23      Facebook, v. Power Ventures, 252 F.Supp.3d 765, 782 (N.D. Cal. 2017), aff’d, 749 F. App’x
     557 (9th Cir. 2019) (“Numerous courts have found that unauthorized access of computers and the
24   acquisition of data in violation of the CFAA constitute irreparable harm.”); Fla. Atl. Univ. Bd. of
     Trustees v. Parsont, 465 F.Supp.3d 1279, 1296 (S.D. Fla. 2020) (“Unsurprisingly, federal courts
25   around the country agree that the interference with an entity’s control of its computer systems
     constitutes irreparable injury.”); Facebook. v. Fisher, No. C 09-05842 JF (PVT), 2009 WL
26   5095269, at *2 (N.D. Cal. Dec. 21, 2009) (entering TRO enjoining violation of CFAA by
27   defendants engaged in phishing and spamming activities and finding “clear possibility of
     irreparable injury with respect both to Facebook’s reputation and to the personal privacy of
28   Facebook users”).
                                                     22
                                                                   Memorandum of Points and Authorities in
                                                                   Support of Motion for Default Judgment
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 1   Gorilla, 500 F.3d 1222, 1229 (10th Cir. 2007). Equity thus requires that Defendants be ordered to
 2   cease their unlawful conduct.
 3
                 c. The Public Interest Favors Fair Competition and Preventing Infringement.
 4
              An injunction will further the public’s interest by preventing the Hack Developers from
 5
     continuing to mislead the public and to violate Nexon’s rights. The public has an interest in “the
 6
 7   right not to be deceived or confused.” Optician Ass’n of America v. Independent Optician of Am.,

 8   920 F.2d 187, 197 (3d Cir. 1990). “The public interest can only be served by upholding copyright

 9   protection and preventing the misappropriation of protected works.” C.B. Fleet Co., v. Unico
10   Holdings, 510 F. Supp.2d 1078, 1084 (S.D. Fla. 2007) (citation omitted). The acts of Defendants,
11
     if allowed to continue unrestrained, interfere with Nexon’s business reputation and undermine the
12
     appeal of MapleStory to users and potential users as a fun and legitimate game, destroying the
13
     goodwill that Nexon has built at significant expense. In contrast, there is no public benefit to
14
15   permitting “hacking” and “cheating” by the Defaulting Defendants.

16      VI.      The Court Should Award Nexon’s Reasonably Incurred Attorneys’ Fees.
17      An award of Nexon’s fees and costs is appropriate on two grounds. First, Section 505 of the
18
     Copyright Act authorizes an award of fees. Under the Copyright Act, the Supreme Court
19
     emphasized that Section 505 should be interpreted in view of the purpose thereof, namely,
20
     “copyright law ultimately[, which] serves the purpose of enriching the general public through
21
22   access to creative works.” Kirtsaeng v. John Wiley & Sons, 136 S. Ct. 1979, 1986 (2016) (quoting

23   Fogerty v. Fantasy, 510 U.S. 517 (1994)). Nothing about the conduct of the Defaulting

24   Defendants promotes “the purpose of enriching the general public through access to creative
25   works.” Instead, “this case is the digital equivalent of standing outside the neighborhood Redbox
26
     — or Blockbuster Video, for fans of history — and giving away copies of the movie for free.”
27
     Glacier Films (USA) v. Turchin, 896 F.3d 1033, 1041 (9th Circ. 2018).
28
                                                    23
                                                                 Memorandum of Points and Authorities in
                                                                 Support of Motion for Default Judgment
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 1         Second, Section 3344 of the California Civil Code entitles prevailing parties to an award of
 2   “attorney’s fees and costs.” Cal. Civ. Code § 3344(a).
 3
           Local Rule 55-3 provides a schedule for the calculation of attorney’s fees on a default
 4
     judgment. See C.D. Cal. L.R. 55-3; see also RD Legal Funding, LLC, 2013 WL 1767962 at *3.
 5
     Nexon requests that the award of attorney’s fees be awarded against each defendant based on the
 6
 7   award entered by the Court and the calculation set forth in Local Rule 55-3.

 8                                             CONCLUSION

 9         For the foregoing reasons, Plaintiffs respectfully request that this Court enter default
10   judgment against each of the Defaulting Defendants and enter the proposed order attached hereto
11
     as Exhibit Z.
12
      Date: May 20, 2022                                 PHILLIPS WINCHESTER, LLC
13
                                                         /s/ Jared L. Cherry
14                                                       Jared L. Cherry (admitted pro hac vice)
                                                         Counsel for Plaintiffs Nexon America
15                                                       Inc. and Nexon Korea Corporation
16
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                                                                  Memorandum of Points and Authorities in
                                                                  Support of Motion for Default Judgment
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 1
                                       CERTIFICATE OF SERVICE
 2
 3          1. I hereby certify that on May 20, 2022, I electronically filed the following document
 4   with the Clerk of the Court by using the CM/ECF system:

 5          MOTION FOR DEFAULT JUDGMENT

 6        2. Participants in the case who are registered CM/ECF users will be served by the
     CM/ECF system.
 7
 8         3. I hereby certify that on May 20, 2022, I transmitted the following document to each
     Defendant listed below by email.
 9
            MOTION FOR DEFAULT JUDGMENT
10
11                 Defendant                    Email Address

12                 Alain Koopmans               Alain.k91@gmail.com

13                 Bibi Ali                     LeShortName@gmail.com

14                                              apptrailerjones@hotmail.com
                   Colin Sullivan
15                                              kenb.zaks@gmail.com
16                 Destin Adamski               destin.adamski@gmail.com
17                 Dor Avital                   dorypp98@gmail.com
18                 Driven Enterprise            ruronikenshin1337@yahoo.com
19                                              apptrailerjones@hotmail.com
                   GK
20                                              kenb.zaks@gmail.com
21                 Hao Vu                       MemeGoreng@outlook.com
22                 Jancarlos García Saavedra    jancarlitos1@hotmail.com
23                 John Artuz                   Johnartuz@hotmail.com
24                                              apptrailerjones@hotmail.com
                   John Kim
25                                              kenb.zaks@gmail.com
26                 Marvin Lei                   iammarvinlei@gmail.com
27                 Matthew Rahminov             hypermatthew@gmail.com
28
                                                  25
                                                              Memorandum of Points and Authorities in
                                                              Support of Motion for Default Judgment
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 1
                   Defendant                     Email Address
 2
                   Mike                          Mike.316@outlook.com
 3
                   Moises Silverio Paulus        msilveriopaulus@gmail.com
 4
                                                 apptrailerjones@hotmail.com
 5                 Nathan Jones
                                                 kenb.zaks@gmail.com
 6
                   Selim Aydogan                 selim_aydogan0@hotmail.com
 7
                   Tony Ngo                      tonyngo1398@gmail.com
 8
                   Victor Park                   dhp960126@gmail.com
 9
                   Wenhao Ma                     pay@gamerlight.com
10
11        I declare under penalty of perjury under the laws of the United States of America that the
     above is true and correct.
12
            Executed on May 20, 2022, at Salt Lake City, Utah.
13
14                                                     /s/ Jared L. Cherry

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                                                               Memorandum of Points and Authorities in
                                                               Support of Motion for Default Judgment
